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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 VS.                                   CASE NO: 2:11-cr-68-FtM-29DNF

 JAMES MIRANDA


     ORDER GRANTING IN PART DEFENDANT’S MOTION FOR PRISON-TERM
  REDUCTION UNDER 18 U.S.C. § 3582(C)(2) BASED ON USSG AMEND. 782

       Before the Court is the defendant’s Motion for Reduction of

 Sentence Pursuant to Title 18 U.S.C. Sec. 3582(c)(2) (Doc. #287).

 The Federal Public Defender's Office was appointed to represent

 defendant in connection with the Motion.         (Doc. #289.)

       Pursuant to the Omnibus Order In Re: Amendment 782, United

 States Sentencing Guidelines, 6:14-mc-78-ORL-22, the United States

 Probation Office issued a Memorandum indicating that defendant is

 eligible for a reduction in his sentence.          On December 3, 2015,

 the Federal Public Defender’s Office filed a Motion for Sentence

 Reduction Under Amendment 782 (Doc. #299) on behalf of defendant

 arguing for an additional reduction pursuant to the original

 downward variance.     On December 16, 2015, the government filed a

 Response (Doc. #300) indicating that it does not oppose a reduction

 to the low end of the new guideline range, but opposes a further

 reduction based on the variance.       The Court agrees that defendant
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 is eligible for a reduction and adopts the amended guideline

 calculations in the Memorandum by the United States Probation

 Office.

      On January 31, 2012, for the reasons stated at the sentencing

 hearing conducted on January 30, 2012, and after considering the

 factors in 18 U.S.C. § 3553(a)(2), the Court granted defendant a

 downward departure.        (Doc. #166.)       As a result, the Court imposed

 a sentence of 120 months imprisonment, a term below the applicable

 guideline range was 135 months to 168 months of imprisonment.

 Having    reviewed   the    facts   in       both   the   original   presentence

 investigation report and the August 25, 2015 Memorandum by the

 United States Probation Office, and taking into account the factors

 set forth in 18 U.S.C. § 3553(a) and the need to consider the

 nature and seriousness of any danger posed by a reduction, see

 U.S. Sentencing Guidelines Manual § 1B1.10 cmt. n.1, the Court

 finds that a reduction is warranted in this case.                    As noted by

 both the Federal Public Defender and the government, the Court is

 foreclosed from applying a comparable variance pursuant to United

 States v. Colon, 707 F.3d 1255 (11th Cir. 2013).                Therefore, the

 motions will be granted as follows, but without the variance:

        James Miranda                                 Original      NEW
        USM No. 55089-018                             Judgment    Amended
                                                                  Judgment
        Total Offense Level:                               31        29




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         Criminal History Category:                   III         III
         Guideline Range:                           135 to      108 to
                                                      168         135
                                                    months      months
         SENTENCE                                     120         108


      Accordingly, it is hereby

      ORDERED AND ADJUDGED:

      1.     Defendant’s Motion for Reduction of Sentence Pursuant to

 Title 18 U.S.C. Sec. 3582(c)(2) (Doc. #287) is GRANTED.

      2.     Defendant’s   Unopposed       Motion   for   Sentence    Reduction

 Under Amendment 782 (Doc. #299), filed by counsel, is GRANTED IN

 PART.

      3.     Defendant’s previously imposed sentence of imprisonment

 (as reflected in the last judgment issued) of               120      months is

 reduced to     108    months, or time served, whichever is greater.

 Except as otherwise provided, all provisions of the judgment dated

 January 31, 2012      shall remain in effect.

      DONE and ORDERED at Fort Myers, Florida, this                  23rd   day

 of December, 2015.




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 Copies:

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